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 1   MCGREGOR W. SCOTT
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant United States Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5

 6   Attorneys for Plaintiff
     United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 1:19-CR-00007 DAD-BAM
12                                 Plaintiff,            STIPULATION TO CONTINUE SENTENCING
                                                         AS TO HECTOR OCHOA AND ORDER
13                          v.                           THEREON
14   HECTOR OCHOA, ET. AL.
                                                         Date: January 22, 2021
15                                 Defendants.           Time: 10:00 a.m.
                                                         Honorable DALE A. DROZD
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18          The United States of America, by and through MCGREGOR W. SCOTT, United States

19   Attorney, and KATHLEEN A. SERVATIUS and KATHERIN A. SCHUH, Assistant United States

20   Attorneys, and the defendant Hector Ochoa, by and through his attorney of record, Richard Oberto,

21   hereby stipulate to continue the sentencing hearing in this case from January 22, 2021 until February 11,

22   2021, at 10:00 am. The additional time is requested to permit the United States to file a sentencing

23   memorandum in this matter and respond to defendant’s sentencing memorandum.

24    Dated: January 20, 2021                                MCGREGOR W. SCOTT
                                                             United States Attorney
25
                                                             /s/ Kathleen A. Servatius
26
                                                             KATHLEEN A. SERVATIUS
27                                                           Assistant United States Attorney

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      STIPULATION TO CONTINUE SENTENCING HEARING
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           Case 1:19-cr-00007-JLT-BAM Document 246 Filed 01/21/21 Page 2 of 2


 1   DATED: January 20, 2021                       /s/ Richard M. Oberto
                                                   Richard M. Oberto
 2                                                 Attorney for Defendant
 3

 4                                                   ORDER

 5          IT IS HEREBY ORDERED that the trial in this case be continued from January 22, 2021 until

 6   February 11, 2021 at 10:00 am..

 7   IT IS SO ORDERED.
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        Dated:    January 21, 2021
 9                                                     UNITED STATES DISTRICT JUDGE

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      STIPULATION TO CONTINUE SENTENCING HEARING
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